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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JEFFREY R. WENK, LEE ANN WENK,
                Plaintiffs,                                     2:22-CV-00433-CCW
           v.

STATE FARM FIRE AND CASUALTY
COMPANY,
                Defendant.



                                CASE MANAGEMENT ORDER

       IT IS ORDERED that compliance with the provisions of Local Rule 16.1.B shall occur as

follows:

       1.       The parties shall exchange initial disclosures required by Rule 26(a)(1) on or before

October 17, 2022.

       2.       The parties shall file any motion to add new parties on or before October 11, 2022.

The parties shall file any motion to amend the pleadings on or before October 11, 2022.

       3.       The parties have elected mediation as their preferred form of Alternative Dispute

Resolution. A mediation session before Kenneth Benson will take place on or before December

9, 2022.

       4.       The parties shall complete all fact discovery on or before January 31, 2023.

All interrogatories, notices of deposition, requests for admission and requests for production shall

be served within sufficient time to allow responses to be completed and served prior to the

close of discovery and within sufficient time to allow the completion of depositions prior to

the close of discovery.
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        5.      Additionally, the discovery deadline will be extended only by leave of court for

good cause shown, and upon motion filed prior to the date on which discovery closes. The motion

shall state the reason(s) for the requested extension and shall enumerate with specificity any

previous extensions of discovery. The filing of a motion to dismiss or other dispositive motion

generally will not stay discovery. Likewise, participation in an ADR process will not stay

discovery.

        6.      Counsel must confer on discovery disputes prior to seeking the Court’s

intervention, and must follow the procedures set forth in the Court’s Practices and Procedures (see

webpage                                                                                            at

https://www.pawd.uscourts.gov/sites/pawd/files/Wiegand_Interim_Practices_Oct_2020.pdf).            If

counsel for the parties cannot resolve the dispute, the parties must contact the Court to set up a

conference in an effort to resolve the matter, rather than filing a formal discovery motion. For

discovery disputes that arise during a deposition, the attorneys together may contact the Court to

resolve the matter.

        Any dispute not resolved shall be presented by motion in accordance with the Court’s

Practices and Procedures. For discovery motions (or any other type of motion), no briefing

schedule will issue. Discovery motions shall include copies of only those pertinent portions of

depositions, interrogatories, requests for admission and responses, et cetera, that are relevant to

disposition of the motion.

        7.      The provisions of Local Rule 16.1.D, regarding procedures governing the

inadvertent disclosure of privileged or trial preparation material, are hereby incorporated into this

Order, as if fully restated herein.




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           8.       A separate order addressing the timing and procedures for dispositive motions will

issue after the close of discovery.

           9.       A telephonic Post-Discovery Status Conference is scheduled for February 7, 2023

at 9:00 a.m. Participants are directed to use the dial-in information provided at ECF. No. 4. Prior

to that conference, the parties shall meet and confer regarding settlement of the case. In all jury

cases1, at least three (3) business days prior to any scheduled conference (initial case management

conference, post discovery status conference, settlement or pretrial conference) each party shall

submit a confidential position letter of five (5) pages or less to Judge Wiegand’s chambers. Any

such position papers in this case are due on or before February 2, 2023. To ensure candor, the

position letters are not to be filed or shared with opposing counsel, but rather, are the be emailed

to chambers at wiegand_chambers@pawd.uscourts.gov.                          All position letters will be kept

confidential.

           The position letter shall include:

                    (a)      A brief recitation of the most salient facts in the case;

                    (b)      A forthright discussion of your party’s strengths and weaknesses,

                             including your party’s likelihood of prevailing on each claim or

                             defense and a description of the issues remaining in dispute;

                    (c)      An estimate of the cost and time to be expended for trial;

                    (d)      The relief you are seeking; and

                    (e)      Your party’s settlement posture, including present demands and offers and

                             history of past settlement discussions, offers, and demands.




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    Position letters should not be submitted in non-jury cases before Judge Wiegand.

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       10.    Lead trial counsel shall participate in the post-discovery status conference. Parties

must participate or be available by telephone. Prior to the post-discovery status conference, the

parties must meet and confer regarding the settlement of the case, whether each party intends to

file a motion for summary judgment, and if so, on what claims.

       DATED this 3rd day of October, 2022.

                                                    BY THE COURT:



                                                    /s/ Christy Criswell Wiegand
                                                    CHRISTY CRISWELL WIEGAND
                                                    United States District Judge




       cc (via ECF email notification):
       All Counsel of Record




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